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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                      *
                                               *
        v.                                     *    CRIMINAL NO. GJH-19-96
                                               *
 CHRISTOPHER PAUL HASSON,                      *
                                               *
                Defendant                      *
                                               *
                                           ********

              GOVERNMENT’S MOTION TO REVIEW RELEASE ORDER

       On May 7, 2019, United States Magistrate Judge Charles B. Day entered an order

releasing the defendant on conditions. Magistrate Judge Day stayed the release order pending

this Government motion. The Government now moves under 18 U.S.C. § 3145(a) to revoke the

release order. The Court’s consideration is de novo.



                                            Respectfully submitted,

                                            Robert K. Hur
                                            United States Attorney

                                            /s/
                                            Thomas P. Windom
                                            Assistant United States Attorney
